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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

JEREMIAH LANE,                       )
                                     )
           Petitioner,               )
                                     )
     v.                              )       CV 116-006
                                     )       (Formerly CR 106-028)
UNITED STATES OF AMERICA,            )
                                     )
           Respondent.               )
        _________________________________________________________

           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
           _________________________________________________________

       Petitioner, an inmate at the Federal Correctional Institute in Jesup, Georgia, has filed

with this Court a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct his sentence.

The matter is now before the Court for an initial review of Petitioner’s motion as required by

Rule 4 of the Rules Governing Section 2255 Proceedings. For the reasons set forth below,

the Court REPORTS and RECOMMENDS Petitioner’s motions to appoint counsel and for

a hearing be DENIED AS MOOT (doc. nos. 2, 3), the § 2255 motion be DISMISSED, and

this civil action be CLOSED.

I.     BACKGROUND

       On May 11, 2006, Petitioner pled guilty to conspiracy to rob commercial businesses,

in violation of 18 U.S.C. § 1951 (Count 1); robbery of a commercial business, in violation of

18 U.S.C. § 1951 (Count 9); and discharging a firearm during a crime of violence, in

violation of 18 U.S.C. § 924(c)(1)(A). United States v. Blake, CR 106-028, doc. no. 31 (S.D.

Ga. February 8, 2006). On February 20, 2007, United States District Judge Dudley H.
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Bowen sentenced Petitioner to a total of 207 months and ordered Petitioner to pay $300 in

special assessments and $10,031.67 in restitution. (Id., doc. no. 46.) Petitioner did not file a

direct appeal. (Doc. no. 1.) Petitioner signed the instant motion on January 19, 2016, and

the Clerk of Court docketed it on January 22, 2016. (Id.) Petitioner seeks a reduction in his

sentence because he asserts he was not in possession of a gun. (Id. at 4.) Petitioner also

raises two grounds of ineffective assistance of counsel under Strickland.

II.    DISCUSSION

       28 U.S.C. § 2255(f), as amended by the Antiterrorism and Effective Death Penalty

Act of 1996 (“AEDPA”), provides a one-year statute of limitations for § 2255 motions that

runs from the latest of four possible dates:

       1.      the date on which the judgment of conviction becomes final;

       2.      the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the
               United States is removed, if the movant was prevented from making a
               motion by such governmental action;

       3.      the date on which the right asserted was initially recognized by the
               Supreme Court, if that right has been newly recognized by the Supreme
               Court and made retroactively applicable to cases on collateral review;
               or

       4.      the date on which the facts supporting the claim or claims presented
               could have been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f). Petitioner’s judgment and conviction was entered on February 20,

2007, and as no direct appeal was filed, his conviction and sentence became final fourteen

days later. See Fed. R. App. P. 4(b)(1). Thus, the instant petition, filed more than nine years

later, is untimely under § 2255(f)(1), and none of the three exceptions apply as set forth in §

2255(f)(2), (3), and (4).


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       Nevertheless, an otherwise untimely § 2255 petition may be considered if a petitioner

can demonstrate that either he is entitled to equitable tolling or that a fundamental

miscarriage of justice has occurred. Equitable tolling can be applied to prevent application

of AEDPA’s statutory deadline if a petitioner can “show ‘(1) that he has been pursuing his

rights diligently, and (2) that some extraordinary circumstance stood in his way’ and

prevented timely filing.” Lawrence v. Florida, 549 U.S. 327, 336 (2007) (quoting Pace v.

DiGuglielmo, 544 U.S. 408, 418 (2005)). Equitable tolling is typically applied sparingly,

Steed v. Head, 219 F.3d 1298, 1300 (11th Cir. 2000), and is available “only in truly

extraordinary circumstances.” Johnson v. United States, 340 F.3d 1219, 1226 (11th Cir.

2003). The petitioner bears the burden of proving he is entitled to equitable tolling, Jones v.

United States, 304 F.3d 1035, 1040 (11th Cir. 2002) (per curiam), and will not prevail based

upon a showing of either extraordinary circumstances or diligence alone; the petitioner must

establish both. Arthur v. Allen, 452 F.3d 1234, 1252 (11th Cir. 2006) (citing Pace, 544 U.S.

at 418-19).

       In addition, consideration of an otherwise untimely petition for federal habeas relief

may be appropriate upon a showing that a “fundamental miscarriage of justice” has occurred,

whereby “a constitutional violation has resulted in the conviction of someone who is actually

innocent.” Murray v. Carrier, 477 U.S. 478, 495-96 (1986); see also Wyzykowski v. Dep’t

of Corr., 226 F.3d 1213, 1218-19 (11th Cir. 2000). The actual innocence exception “is

exceedingly narrow in scope,” and a petitioner seeking to invoke it must “show that it is

more likely than not that no reasonable juror would have convicted him.” Johnson v.

Alabama, 256 F.3d 1156, 1171 (11th Cir. 2001) (quoting Schlup v. Delo, 513 U.S. 298, 327

(1995)). “In addition, ‘to be credible, a claim of actual innocence must be based on reliable


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evidence not presented at trial.’” Id. (quoting Calderon v. Thompson, 523 U.S. 538, 559

(1998)).

       Here, Petitioner has not shown extraordinary circumstances stood in his way and

prevented him from filing his petition. Further, Petitioner has not presented any evidence,

much less new evidence, to suggest he did not commit the offenses to which he pleaded

guilty such that no reasonable juror would have convicted him. Therefore, neither equitable

tolling nor the actual innocence exception saves the instant petition from being time-barred

under AEDPA.

III.   CONCLUSION

       Based on an initial review of the petition as required by Rule 4 of the Rules

Governing Section 2255 Proceedings, the Court FINDS that Petitioner’s motion is time-

barred by the applicable one-year statute of limitations, and thus REPORTS and

RECOMMENDS that Petitioner’s motions to appoint counsel and for a hearing be

DENIED AS MOOT (doc. nos. 2, 3), the § 2255 motion be DISMISSED and that this civil

action be CLOSED.

       SO REPORTED and RECOMMENDED this 22nd day of March, 2016, at Augusta,

Georgia.




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